                Case 8:25-cv-00951-PX            Document 6-1           Filed 03/25/25     Page 1 of 1

Simon Sandoval-Moshenberg

From:                            Simon Sandoval-Moshenberg
Sent:                            Monday, March 24, 2025 12:16 PM
To:                              Bethune, Tianna (USAMD); Arnold, Ariana (USAMD); Nardone, Nicole (USAMD);
                                 Deshields, Tarra (USAMD); Goldmeier, Melissa (USAMD); Richardson, Cathy (USAMD)
Subject:                         Filing of emergency TRO motion in Abrego Garcia v. Noem, 8:25-cv-951-AAQ
Attachments:                     0001. (03-24-2025) COMPLAINT against Nikita Baker Pamela Bondi Kenneth Genalo
                                 Todd Lyons Kristi Noem Marco Rubio.pdf; 0001-001. (03-24-2025) Exhibit A.pdf;
                                 0001-002. (03-24-2025) Exhibit B.pdf; 0001-003. (03-24-2025) Exhibit C.pdf; 0001-004.
                                 (03-24-2025) Exhibit D.pdf; 0001-005. (03-24-2025) Exhibit E.pdf; 0001-006.
                                 (03-24-2025) Civil Cover Sheet.pdf; 0001-007. (03-24-2025) Summons.pdf; 0002.
                                 (03-24-2025) Emergency MOTION for Temporary Restraining Order by Kilmar Armando
                                 Abrego Garcia.pdf; 0002-001. (03-24-2025) Text of Proposed Order.pdf

Importance:                      High


Apologies for the mass e-mail, I’m not sure to whom this should be directed. I’m emailing to advise your o ice of
the ﬁling of an emergency TRO motion in the matter of Abrego Garcia v. Noem, 8:25-cv-951-AAQ.

Attached please ﬁnd the complaint, with all exhibits thereto; the TRO motion, and the proposed order thereto.

Kindly advise who will be handling this matter for your o ice.

Thank you.


Best,



                                   Simon Sandoval-Moshenberg, Esq. |
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